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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          (ATLANTA DIVISION)

UNITED STATES SECURITIES
AND EXCHANGE COMMISSION,

        Plaintiff,

        v.                                Civil Action No. ____________

JOHN J. WOODS, et al.,

        Defendants.

           PLAINTIFF SEC’S MOTION FOR A TEMPORARY
       RESTRAINING ORDER AND OTHER EMERGENCY RELIEF

      The Securities and Exchange Commission (“SEC”) respectfully seeks

emergency relief from this Court to stop a $100 million Ponzi scheme being run by

Defendants John J. Woods (“Woods”) and Southport Capital (“Southport”), an

investment advisory firm that Woods owns and controls. For the past decade,

Woods and other investment adviser representatives at Southport have falsely told

investors that they will earn guaranteed returns by investing in Defendant Horizon

Private Equity III, LLC (“Horizon III”). In reality, Horizon III was also owned and

controlled by Woods; the company generated little revenue; and the returns paid to

investors largely came from the funds of later investors. As of July 2021, there are

more than 400 investors in Horizon III, residing in over 20 states, who are owed
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$110 million in principal. Many of the investors in Horizon III are elderly retirees

who were preyed upon by Woods and other investment advisers at Southport.

      As explained more fully in the attached memorandum of law, emergency

relief is necessary to stop this ongoing Ponzi scheme and to prevent the dissipation

of assets. Woods and Horizon, through Southport’s investment advisers, have

been raising more than $600,000 per month in new investments, and without

immediate relief there is significant risk of additional victims being defrauded.

Accordingly, the SEC respectfully asks that the Court enter (i) a temporary

restraining order; (ii) an order freezing the assets of Defendants; (iii) an order

appointing a receiver over Defendants; (iv) an order expediting discovery,

preventing the destruction of documents, and requiring an accounting; and (v) an

order requiring the defendants to show cause why a preliminary injunction should

not be entered.

                                   CONCLUSION

      For the foregoing reasons, the SEC respectfully requests that the Court issue a

temporary restraining order and the other relief described above.


Dated: August 20, 2021            Respectfully submitted,

                                  /s/ Harry B. Roback
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                                  Harry B. Roback (GA Bar No. 706790)

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                    CERTIFICATION OF COMPLIANCE

      This is to certify that the foregoing was prepared using Times New Roman
14 point font in accordance with Local Rule 5.1 (B).

                               /s/ Harry B. Roback
                               Harry B. Roback
